




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-09-00260-CR

&nbsp;

Christopher Lee Phillips,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;



From the 85th District Court

Brazos County, Texas

Trial Court No. 08-01833-CRF-85

&nbsp;



ABATEMENT ORDER










&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This order is an effort by this Court,
working with the trial court, under the current version of the rules of
appellate procedure to ensure that the appellate record is timely filed.&nbsp; Tex. R. App. P. 35.3(c).&nbsp; This order is
also a departure from previous orders of this Court and is our effort to
empower the trial court and parties with a procedure to obtain a timely record
by establishing a more formal and certain process for early intervention upon
the identification of potentially late filed records.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As stated above, the responsibility
for assuring the record is timely filed is now the responsibility of the
appellate court and the trial court, jointly.&nbsp; Tex. R. App. P. 35.3(c).&nbsp; Previously, prior to the current
rule, it was the responsibility of the litigants to ensure the timely filing of
the record.&nbsp; Tex. R. App. P.
53(k), amended eff. Sept. 1, 1997.&nbsp; This is not to say, however, litigants are
prohibited from participating in the process.&nbsp; We believe the attorneys
representing the parties play a valuable role in assisting the Courts by
appearing at any hearing ordered and (1) making a record of the reason(s) the
record has not been timely filed and (2) making a record of the actual or
potential prejudice to the parties when a record is filed late.

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The reporter’s record in this appeal
was originally due on August 3, 2009.&nbsp; Tex.
R. App. P. 35.2(a).&nbsp; Two reporters were responsible for the preparation
of this record.&nbsp; The first reporter received an extension of time to September 30, 2009 to file the record.&nbsp; On that date, the Court received a notice from the
first reporter explaining that she could not file the reporter’s record because
the second reporter had not completed her portion of the reporter’s record.&nbsp;
Both reporters received an extension to November 5, 2009 to file the record.&nbsp; No reporter’s record was filed.&nbsp; On January 5, 2010, the Court received a request for extension of time from the second reporter, Helen Wooten.&nbsp; The
request was granted, and the date to file the reporter’s record was extended
until February 11, 2010.&nbsp; Meanwhile, on January 22, 2010, the portion of the reporter’s record from the first reporter was received.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The portion of the reporter’s record
from Helen Wooten was not filed.&nbsp; On March 24, 2010, the Clerk of this Court notified Wooten that her portion of the reporter’s record had not been filed and
that she had previously indicated it would be filed by February 11, 2010.&nbsp; Wooten was given 10 days to contact the Court.&nbsp; On April 5, 2010, Wooten requested another extension of time to file her portion of the reporter’s record.&nbsp; The
request was granted and the date to file her portion of the reporter’s record
was extended to May 3, 2010.&nbsp; Wooten was warned that if the record was not
filed by May 3, 2010, the matter would be referred to the Court.&nbsp; Wooten’s
portion of the reporter’s record was not filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In an order dated May 19, 2010, this Court held:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is the joint responsibility of this
Court and the trial court to ensure that the appellate record is timely filed.&nbsp;
Tex. R. App. P. 35.3(c).&nbsp;
Further, this Court may enter any order necessary to ensure the timely filing
of the appellate record.&nbsp; Id.&nbsp; Accordingly, Helen Wooten’s portion of
the reporter’s record is ORDERED to be filed no later than 7 days from the date
of this order.&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Failure to file the reporter’s record
as herein ordered will result in an abatement order for the trial court, the
Honorable J.D. Langley of the 85th District Court, to determine, working with
the deputy reporter, Helen Wooten, a date certain by which the supplemental
(sic) reporter’s record will be filed.

&nbsp;

Even after issuance of the May 19, 2010 order, Wooten’s portion of the reporter’s record was not filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We abated this appeal on June 2, 2010 to the trial court so that the trial court could determine a date certain by
which Wooten’s portion of the reporter’s record would be filed.&nbsp; By written
order, the trial court relayed that Wooten assured the trial court the record
would be filed with this Court by Friday, June 25, 2010.&nbsp; The trial court also recommended that this Court grant Wooten one last extension of time to
file her portion of the record to June 25, 2010.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We then reinstated the appeal and
ordered Wooten to file her portion of the record by 10:00 a.m. on June 25, 2010.&nbsp; The record was not filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By letter dated July 5, 2010, the Clerk of this Court provided a schedule of overdue records to Wooten and requested
that Wooten enter a date and initial for each case and return to the Clerk by
fax no later than 5:00 p.m. on Tuesday, July 6, 2010.&nbsp; Wooten was informed that it was imperative that the deadline date given for each case be a date by which
she felt certain the reporter’s records could be filed.&nbsp; Wooten returned the
schedule and entered July 26, 2010 as the date this record would be filed.&nbsp; On July 8, 2010, the Court ordered the record to be filed by July 26, 2010.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On July 26, 2010, two volumes of record were received from Wooten.&nbsp; The Clerk noticed, however, that the record
was still not complete.&nbsp; On July 30, 2010, the Clerk spoke with Wooten who stated that another volume should have been delivered.&nbsp; She said she would talk to
her office and get back with the Clerk.&nbsp; On August 6, 2010, the two volumes which had been received on July 26 were picked up by Wooten’s court reporting
firm.&nbsp; The Clerk left messages with Wooten on August 10, 2010 and August 11, 2010 regarding the status of the record.&nbsp; The Clerk’s calls were not returned.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Clerk was finally able to reach
Wooten by telephone on October 12, 2010.&nbsp; Wooten informed the Clerk that the record was at a typist who would not return any of Wooten’s calls.&nbsp; Wooten also
told the Clerk that she would send a letter to the Court explaining her
situation.&nbsp; No letter was sent, and the Clerk has had no further communications
from Wooten.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To this date, Wooten’s portion of the
record in this appeal has not been filed.&nbsp; The record is now over one year past
due.&nbsp; Since the date of the Clerk’s last conversation with Wooten, the Court
has received a motion from appellant’s counsel for this Court to initiate
contempt proceedings against Wooten.&nbsp; 

Order

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is ORDERED abated to the
trial court, the 85th District Court, the Honorable J.D. Langley, presiding, to
hold a hearing as soon as practicable but not later than 28 days after the date
of this Order to determine:

(1) The reason for the lack of response from Helen
Wooten;

&nbsp;

(2)&nbsp; The reasons why Helen Wooten’s portion of the
reporter’s record is late;

&nbsp;

(3) A date certain when Helen Wooten’s portion of
the reporter's record can reasonably be transcribed into written form and filed
in a manner that does not further delay the prosecution of this appeal or have
the practical effect of depriving appellant of his right to appeal; and

&nbsp;

(4)&nbsp; Whether Helen Wooten is in contempt of court
by having failed to file the record with this Court by the date set by order of
the Court upon her representation of the date the record would be filed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Counsel for the parties are ordered to
assist the trial court in making its determinations through subpoena and
questioning of Helen Wooten and any other necessary witnesses.&nbsp; Helen Wooten
shall closely examine her professional and personal schedules and provide those
schedules to the trial court in an effort to assist the trial court with a
determination of a date certain that her portion of the reporter’s record will
be filed.&nbsp; The parties’ counsel shall also make the trial court aware of any
actual or potential prejudices to the parties by the lateness of this
reporter’s record.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court must order Helen
Wooten to file the record by the date determined.&nbsp; Further, if at this hearing
the trial court does not find Helen Wooten to be in contempt of court, the
trial court must inform Helen Wooten of the consequences of failing to file the
record by the date determined and ordered.&nbsp; Those consequences include:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; abating
the proceeding again to the trial court for a contempt of court &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; hearing;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; imposing
a lump sum monetary fine;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; imposing
a daily fine for each day the record is late beyond the date &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; previously
determined by the trial court; and

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (4)&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; confinement in jail until the record is completed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court shall require the
hearing to be transcribed. &nbsp;To the extent necessary or pertinent to obtaining
compliance with the rules regarding preparation of the reporter’s record, the
trial court must: (1) prepare findings of fact and conclusions of law
addressing the above issues; (2) require the preparation of a supplemental
clerk's record containing its findings of fact and conclusions of law and all orders
it may issue as a result of its hearing in the matter; and (3) require the
preparation of a reporter's record transcribing the evidence and arguments
presented at the aforementioned hearing. Additionally, the trial court’s
findings and orders must be provided to the trial court clerk within 7 days
from the date of the hearing.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court clerk is ORDERED to
provide a supplemental clerk’s record, containing the written findings and
orders of the trial court, to this Court within 14 days from the date of the
hearing.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Further, the trial court’s official
reporter is ORDERED to provide a record of the hearing held to this Court
within 14 days from the date of the hearing.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Before
Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Davis

Order
issued and filed December 15, 2010

Publish






x. App.—Austin Nov. 9, 2000, no pet.) (not designated for
publication).

We agree with the Fourteenth Court’s
conclusion in Moreno that “an
order erroneously granting a bill of review is merely voidable, not void:”

[B]ecause the trial court’s ruling on a
bill of review is appealable after the court denies the bill, or after the
court grants the bill and rules on the merits, the court’s ruling is ‘binding
until disaffirmed’ and thus, merely voidable.&nbsp; &nbsp;&nbsp;

&nbsp;

Moreno, 4 S.W.3d
at 280-81; Tex. R. Civ. P. 329b(f).&nbsp; However, we disagree with the Fourteenth
Court’s finding that Moreno
had an “adequate remedy by
appeal of the eventual final judgment in the underlying case.”&nbsp; Moreno, 4 S.W.3d
at 281.

Since Moreno, the Texas Supreme
Court has relaxed the standards for establishing an adequate remedy.&nbsp; Today,
“[t]he adequacy of an appellate remedy must be determined by balancing the
benefits of mandamus review against the detriments.” &nbsp;In re Team Rocket, L.P., 256 S.W.3d 257, 262&nbsp;(Tex. 2008)
(orig. proceeding); see In re Prudential Ins. Co. of Am., 148 S.W.3d 124,&nbsp;136 (Tex. 2004)
(orig. proceeding). &nbsp;In
evaluating benefits and detriments, we consider whether mandamus will: (1)
“preserve important substantive and procedural rights from impairment or loss;”
(2) “‘allow the appellate courts to give needed and helpful direction to the
law that would otherwise prove elusive in appeals from final judgments;’” and
(3) “spare litigants and the public ‘the time and money utterly wasted enduring
eventual reversal of improperly conducted proceedings.’”&nbsp; Team Rocket, 256 S.W.3d at 262. &nbsp;“‘[A]n appellate remedy is not
inadequate merely because it may involve more expense or delay than obtaining
an extraordinary writ’…but extraordinary relief can be warranted when a trial
court subjects taxpayers, defendants, and all of the state’s district courts to
meaningless proceedings and trials.” &nbsp;Id. at 262 (citing Walker v. Packer,
827 S.W.2d 833, 842 (Tex. 1992) and
Prudential, 148 S.W.3d at 137).

[I]nsisting on a wasted trial simply so
that it can be reversed and tried all over again creates the appearance not
that the courts are doing justice, but that they don’t know what they are
doing.&nbsp; Sitting on our hands while unnecessary costs mount up contributes to
public complaints that the civil justice system is expensive and outmoded.

&nbsp;

In re McAllen Med. Ctr., Inc., 275 S.W.3d 458, 466 (Tex. 2008) (orig. proceeding). 

If Respondent erroneously granted the
bill of review, then Spiller is entitled to a default judgment against Boon
without the necessity of a meaningless trial.&nbsp; Absent mandamus relief, he loses
his right to a default judgment.&nbsp; See Tex. R.
Civ. P. 239.
&nbsp;Thus, a conclusion that Spiller has an
adequate remedy by appeal after final judgment would impair Spiller’s procedural
rights and require the parties to participate in a “wasted trial simply so that
it can be reversed and tried all over again.”&nbsp; McAllen Med. Ctr., 275 S.W.3d at 466.&nbsp; After balancing the benefits and the
detriments, we conclude
that Spiller does not have an adequate remedy by appeal.&nbsp; See Team Rocket,
256 S.W.3d at 262; see
also Prudential, 148 S.W.3d at&nbsp;136.&nbsp; Mandamus
relief is the proper remedy in this case.&nbsp; 

ABUSE OF DISCRETION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In two issues, Spiller
argues that Respondent abused its discretion by finding that Boon: (1)
“conclusively prove[d] non-service of process upon the named GLORIA BOONE;” and
(2) did not participate in the motion for new trial. &nbsp;See Bexar County, 224 S.W.3d at 185
(abuse of discretion standard); see also Stearman, 252 S.W.3d at 115
(same).&nbsp; 

Non-Service of Process

In issue one, Spiller
argues that Boon failed to establish non-service of process because her
testimony denying service is uncorroborated.&nbsp; 

&nbsp;“[S]trict compliance with the rules for
service of citation [must] affirmatively appear on the record in order for a
default judgment to withstand direct attack.”&nbsp; Primate Constr. v. Silver, 884 S.W.2d 151, 152 (Tex. 1994).&nbsp; “There are no presumptions in favor of
valid issuance, service, and return of citation.”&nbsp; Id.&nbsp; “The
return of service is not a trivial, formulaic document,” but is “prima facie
evidence of the facts recited therein.”&nbsp; Id.&nbsp; “The recitations in the
return of service carry so much weight that they cannot be rebutted by the
uncorroborated proof of the moving party.”&nbsp; Id.

The prohibition against considering the
challenger’s evidence applies only if the evidence does not rise above mere
denial of service, or mere denial of service buttressed only by the serving
officer’s inability to remember serving that particular party. &nbsp;The test of the
evidence, from whatever source, is whether it demonstrates independent facts
and circumstances that support, and thus corroborate, the challenger’s claim.

&nbsp;

Min v. Avila, 991 S.W.2d 495, 503&nbsp;(Tex.
App.—Houston [1st Dist.] 1999, no pet.).


The officer’s return, signed by Deputy
Richard Tackett, states that Boon was personally served at 10:05 a.m. on August
18.&nbsp; Boon testified that she was not personally served on this date and no
citation was affixed to her door.&nbsp; She found a citation, signed by Tackett and
dated August 19, in her mailbox.&nbsp; Boon wrote on the citation: “Found in
mail box open faced - no envelope.”&nbsp; Tackett did not testify.

Boon faxed the citation and petition to
Dottie Melko at Germania Insurance.&nbsp; Melko sent a letter to Spiller’s counsel
stating that the petition was left in Boon’s mailbox, which is “hardly proper
service,” requesting proper service of the suit, and informing counsel that
Germania did not accept service for its insureds.&nbsp; Counsel provided Melko with
a copy of the petition and order for substituted service.&nbsp; Boon testified that
she was not thereafter served and never authorized Germania to accept service
for her.&nbsp; She was unaware that Melko asked for an extension to file an answer.

Boon argues that her handwritten
notation on the citation and Melko’s letter corroborate her testimony.&nbsp; Spiller
contends that this evidence is insufficient corroboration because Boon is the
source of the information.&nbsp; See Davis
v. Davis, 521 S.W.2d
952, 954&nbsp;(Tex. Civ. App.—Forth Worth 1975, no writ) (“There should be at least two witnesses or
one witness with strong corroborative facts and circumstances proceeding from a
source other than the witness.”);
see also Garza v. Phil Watkins, P.C., No. 04-07-00848-CV, 2009 Tex. App. LEXIS 1588, at *6-8&nbsp;(Tex.
App.—San Antonio Mar. 4, 2009, no pet.) (mem. op.) (Garza and his wife
testified to an absence of service, but process
server gave detailed information regarding service on Garza).

Boon’s delivery of the citation and
petition to Melko is some evidence supporting her contention that she was not
served.&nbsp; See Ward
v. Nava, 488 S.W.2d 736,
737-38 (Tex. 1972) (Declining to disturb trial court’s finding to the contrary,
but concluding: “The actions
of Ward in searching for the papers and in promptly taking the papers to the
insurance agent on their discovery constitute some corroborating evidence of
Ward’s contention that he had not been served.”).&nbsp; Additionally, corroborating
evidence need not be direct, but may be circumstantial.&nbsp; See Sanders v. Harder, 227 S.W.2d 206, 209, 148 Tex.
593&nbsp;(1950); see also Min, 991 S.W.2d at 501.&nbsp; The record contains such evidence.&nbsp; 

For instance, the record contains two
citations signed by Tackett, each with a different date.&nbsp; Constable Bill Pearce
identified Tackett’s initials on the citation found in Boon’s mailbox. &nbsp;Both
citations incorrectly name “Gloria Boone,” not “Gloria Jean Boon.”&nbsp; See Medeles v. Nunez, 923 S.W.2d 659, 662 (Tex. App.—Houston
[1st Dist.] 1996, writ denied), overruled on other grounds by Barker
CATV Constr., Inc. v. Ampro, Inc., 989 S.W.2d 789, 792-93&nbsp;&nbsp;(Tex. App.—Houston [1st Dist.] 1999, no
pet.) (Citation defective, in part, because it named “‘Maria Mendeles’ (not Maria Medeles) as
the defendant”).&nbsp; Respondent authorized service by leaving a copy of the
citation and the petition with anyone over the age of sixteen at 7324 W. FM 916
or by affixing the citation and petition to the front door at 12547 CR 117.&nbsp; Tackett’s
return states that service was accomplished “in person,” but the document
attached to the citation states: “RETURNED[] COURTS.&nbsp; REQ 106 ADDRESS VERIFIED REC’D
OK TO HANG 08-01-2008.”&nbsp; Not only is this inconsistent, but the manner of
service alleged in the return does not comport with that authorized by
Respondent’s order.&nbsp; See Dolly
v. Aethos Commc’n. Sys., Inc.,
10 S.W.3d 384, 388&nbsp;(Tex. App.—Dallas 2000, no pet.).

The citations for Glenda and Jerry list
the Rio Vista address and state that service was achieved on August 18 at 9:05
a.m., one hour before Boon was allegedly served at the 12547 CR 117 address.&nbsp;
Both Glenda and Jerry testified that they were not personally served on this
date and were not even home at 9:00 a.m. on the 18th.&nbsp; Glenda and Jerry both testified
that they were never served any papers on Boon’s behalf and never found any
papers affixed to the front door of their residence.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Moreover, Pearce testified
that Tackett quit work a few days after August 18.&nbsp; Deputy Constable Lou Corwin
testified that she had to retrieve Tackett’s official vehicle and conduct a
welfare check at his home.&nbsp; Corwin found several unserved and served documents
in the vehicle.&nbsp; Laura Summey, a clerk for Constable Pearce, testified that
Tackett dropped off several such documents at her home.&nbsp; Corwin testified that
she notarized Tackett’s affidavit, but he had attempted to write, not print,
his signature.

Spiller contends that this evidence does
not affect Boon’s service because Pearce and Summey received no complaints
regarding unserved documents in Tackett’s possession or documents he claimed to
have served, Corwin testified that Tackett was aware of the proper procedures
regarding completion of documents, and Pearce testified that he had no reason
to doubt the veracity of the return.&nbsp; However, Tackett’s behavior in the days
following the alleged service of Boon raises questions regarding Tackett’s credibility,
and thus, the veracity of the return.&nbsp; See Min, 991 S.W.2d
at 503 (Officer’s testimony raised questions regarding proper service of other
papers).

Whether Boon was served with citation is
at least within the zone of reasonable disagreement.&nbsp; See Sanders, 227 S.W.2d at 209 (Despite officer’s
return and deputy’s testimony claiming service, various circumstances “while not as strong as might be desired,
[] constitute[d] some competent evidence corroborating the testimony of the
petitioners [denying service].”).&nbsp; Respondent did not abuse his discretion by
finding that Boon conclusively proved non-service of process.

Motion for New Trial

In issue two, Spiller argues that Boon participated
in the filing of the motion for new trial and failed to exhaust her legal remedies.

Traditionally, a bill of review requires
proof of three elements: (1) a meritorious defense, (2) that was not asserted
due to fraud, accident, or wrongful act of an opponent or official mistake, (3)
unmixed with any fault or negligence by the movant. &nbsp;Ross v. Nat’l Ctr. for the Employment of
the Disabled, 197
S.W.3d 795, 797 (Tex. 2006).&nbsp; However, “a
defendant who is not served with process is entitled to a bill of
review&nbsp;without a further showing, because the Constitution discharges the
first element, and lack of service establishes the second and third.”&nbsp; Id.
&nbsp;“A party who becomes aware of the proceedings without proper service of
process has no duty to participate in them.” &nbsp;Id. (quoting Caldwell
v. Barnes, 154 S.W.3d 93, 97 n.1 (Tex. 2004)).&nbsp;
“While diligence is required from properly served parties or those who have
appeared…those not properly served have no duty to act, diligently or
otherwise.”&nbsp; Id. at 798.

Boon was not required to file a motion
for new trial before seeking a bill of review.&nbsp; See Ross, 197 S.W.3d at 797.&nbsp; Nevertheless, Spiller contends that a
motion for new trial and supporting affidavit were filed on Boon’s behalf.

When she discovered the default
judgment, Boon contacted Glenda and told her to “take care of it.”&nbsp; She also
contacted Glenda’s attorney, Josh Turman.&nbsp; Boon testified that a motion for new
trial may have been mentioned, but that Turman was not her attorney and she had
no “specific knowledge” of how he planned to remedy the situation.&nbsp; She had no
knowledge of the status of the case until she received a notice for post-trial
deposition.&nbsp; Boon did not recall signing an affidavit, receiving an affidavit
from Turman, or signing an affidavit in Turman’s office. &nbsp;She testified that
the signature on her alleged affidavit was not her signature and she did not
know whose signature it was.&nbsp; She did not recall authorizing anyone to sign the
affidavit on her behalf.

Glenda testified that she signed the
affidavit, believing that she had Boon’s permission because Boon wanted her to
“take care of it.” &nbsp;She knew that Turman was filing the motion for new trial on
Boon’s behalf, but she never directly told Boon that an affidavit would be
filed on her behalf and was not certain that she told Boon about the motion for
new trial.&nbsp; She further testified that Turman was not Boon’s attorney.&nbsp; 

Spiller contends that Boon and Glenda
established an agency relationship whereby Glenda “took affirmative steps to
seek relief from the default judgment,” including “”hiring of counsel to
prepare and present the motion, the preparation of an affidavit on behalf of
Ms. Boon, and signing the affidavit of Ms. Boon.”

However, both Boon and Glenda testified
that Turman was not Boon’s attorney and that Boon was unaware that a motion or
affidavit would be filed on her behalf.&nbsp; Even assuming that Glenda was
authorized to act as Boon’s agent, “[a] statement signed on behalf of the
affiant…is not a valid&nbsp;affidavit even if the affiant expressly authorizes
the signature.”&nbsp; De Los
Santos v. Sw. Tex. Methodist Hosp.,
802 S.W.2d 749, 755 (Tex. App.—San Antonio 1990), overruled on other grounds
by Lewis v. Blake, 876 S.W.2d 314&nbsp;(Tex. 1994); see Tex. Gov’t Code Ann. § 312.011(1)
(Vernon 2005) (An
“affidavit” is a “statement in writing of a fact or facts signed by the
party making it, sworn to before an officer authorized to administer oaths,
and officially certified to by the officer under his seal of office.”); see also Hatcher v. TDCJ-Inst’l Div.,
232 S.W.3d 921, 925 (Tex. App.—Texarkana 2007, pet. denied) (“An affidavit must be signed by the
affiant for such an instrument to have any effect.”). &nbsp;Boon’s affidavit was invalid because she did not personally
sign the affidavit in the presence of the notary.&nbsp; See De Los Santos, 802 S.W.2d at 755; see also Hatcher,
232 S.W.3d at 925.

Nor was Boon required to file a notice
of appeal.&nbsp; Having established non-service of process, she was not required to
exhaust all legal remedies.[4]&nbsp;
See Cash v.
Beaumont Dealers Auto Auction, Inc.,
275 S.W.3d 915, 919 (Tex. App.—Beaumont 2009, no pet.) (notice of appeal); see
also Ross, 197 S.W.3d at 797 (motion for new trial); Gold v. Gold, 145 S.W.3d 212, 213 (Tex. 2004)
(restricted appeal).

In summary, whether Boon participated in
the motion for new trial is at least within the zone of reasonable
disagreement.&nbsp; Respondent did not abuse his discretion by finding that Boon did
not so participate.

CONCLUSION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because Spiller has not
established his right to mandamus relief, we deny his petition for writ of
mandamus.

&nbsp;

FELIPE REYNA

Justice

Before
Chief Justice Gray

Justice Reyna, and

Justice Davis 

(Chief Justice Gray dissenting with
note)*

Writ
denied 

Opinion
delivered and filed January 13, 2010

[OT06]

*&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (Chief
Justice Gray would deny the petition for writ of mandamus without an opinion.&nbsp;
A separate opinion will not issue.&nbsp; He notes, however, that once the Court
determined, as he had when it was first filed, that the petition should be
denied, there would be no wasted trial and thus there is adequate relief by
appeal notwithstanding the “relaxing” of this factor when balanced with cost.&nbsp;
The Court simply engages in giving Spiller the bad news now rather than
overruling an issue if Spiller must appeal later.&nbsp; Chief Justice Gray joins no
part of the opinion.)









[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The petition and
citation both name “Gloria Boone.”

&nbsp;





[2]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This proceeding was
filed under a new cause number. 

&nbsp;





[3] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Respondent orally granted
Boon’s bill of review at the conclusion of a hearing on April 8, 2009.





[4] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Spiller cites several
cases for the proposition that Boon must exhaust legal remedies even when
alleging non-service.&nbsp; See In
re Botello, No. 04-08-00562-CV, 2008 Tex. App. LEXIS 8875, at
*10-11&nbsp;(Tex. App.—San Antonio Nov. 26, 2008, orig. proceeding) (mem. op.);
see also In the Interest of A.G.G., 267 S.W.3d
165,&nbsp;168-69&nbsp;(Tex. App.—San Antonio 2008, pet. denied); Morgan v.
Bracken, No. 05-03-01813-CV,
2004 Tex. App. LEXIS
11112,&nbsp;at *3-4&nbsp;(Tex. App.—Dallas Dec. 10, 2004, no pet.) (mem. op.); Ledbetter
v. State, No.
02-03-00058-CV, 2004 Tex.
App. LEXIS 7295, at *2-7 (Tex. App.—Fort Worth Aug. 12, 2004, no pet.) (mem.
op.); Nguyen v. Intertex, Inc., 93 S.W.3d 288, 294-95 (Tex. App.—Houston
[14th Dist.] 2002, no pet.); Brooks v. Assoc. Fin. Servs. Corp., 892
S.W.2d 91,&nbsp;94&nbsp;(Tex. App.—Houston [14th Dist.] 1994, no writ).&nbsp; The
Texas Supreme Court, however, has made clear that this is not the case when a
party proves non-service of process. &nbsp;See Ross v. Nat’l
Ctr. for the Employment of the Disabled, 197 S.W.3d 795, 797 (Tex.
2006).&nbsp;







